 

Case 19-13589-SMG Doc 80 Filed 11/05/19 Page1of4

UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

wwiv.fisb.uscourts.goy
CHAPTER 13 PLAN (Individual Adjustment of Debts)

 

 

 

 

 

L] Original Plan
(@] 6th Amended Plan (Indicate Ist, 2nd, ete. Amended, if applicable)
C] Modified Plan (Indicate Ist, 2nd, etc. Modified. if applicable)
DEBTOR: Nelson Fernandez JOINT DEBTOR: CASENO.: 19-13589
SS#: xxx-xx~ 3928 SS#: XXX-XX-
I, NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans. amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter | 3,

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: ©The plan contains no nonstandard provisions other than those set out in paragraph VII. Debtor(s) must cheek one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

The valuation of a secured claim, set out in Section II], which may result ina a Ir oo

. . [| Included fi] Not included
partial payment or no payment at all to the secured creditor \
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set - Wei aa ena

‘ oe P y P y y [| | tneluded |) Not included
out in Section II - |

 

Nonstandard provisions, set out in Section VIII [wi Included {|

i, PLAN PAYMENTS, LENGTH _OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

Not included

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, inchiding trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee docs not retain the full 10%. any unusea

amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $1,914.51 formonths 1 to_10_;
2, $1,918.81 formonths 11 to_60_;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [7] PRO BONO
Total Fees: $5000.00 Total Paid: $3500.00 Balance Due: $1500.00
Payable $150.00 /month (Months | to 10 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3,500 Chapter 13 Case, MMM $1500,

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

ULL TREATMENT OF SECURED CLAIMS ~~

A. SECURED CLAIMS: [7] NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property: ee

 

 

 

 

1. Creditor: Nationstar Mortgage d/b/a Mr. Cooper oe
Address: P.O. Box 619094 Arrearage/ Payoff on Petition Date ee / ;
Dallas, Texas 7526 MMM Adequate Protection — SLS9047 month (Months 1 tu 8)
Last 4 Digits of MMM TPP Temporary Payment 8189047 Anonth (Months 6 lo 60 4
Account No.: 9519 _
Other:

 

 

LF-31 (rev. 10/3/17) Page | of 4
TV.

¥.

VIL

VIET.

Case 19-13589-SMG Doc 80 Filed 11/05/19 Page 2of4

 

 

Debtor(s): Nelson Fernandez Case number: 19-13589
[mw] Real Property Check one below for Real Property:
(m|Principal Residence (m]Escrow is included in the regular payments
[ ]Other Real Property [|The debtor(s) will pay [ ]taxes | Jinsurance direetly

Address of Collateral:
8830 SW 22 Street
Hollywood, FL 33025

|] Personal Property/Vehicle

Description of Collateral:

 

 

 

B. VALUATION OF COLLATERAL: [] NONE

C. LIEN AVOIDANCE [i] NONE

D, SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not reeeive a
distribution fom the Chapter 13 Trustee.
[gw] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.
["] NONE

{@] The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract right

 

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
The Cottages at University 8830 8830 SW 22 Street
. Park Hollywood, FL 33025. 0

 

TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)|
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [i] NONE
B. INTERNAL REVENUE SERVICE: [ii] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [m] NONE
D. OTHER: [B] NONE
TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $153.90 ‘month (Months 11 to 60 )

Pay /month (Months to )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
B. (ii) If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: — [ii] NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nanpriority

creditors pursuant to 1] U.S.C. § 1322.
EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any ereditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter !3 Trustee.

(ii) NONE
INCOME TAX RETURNS AND REFUNDS: [7] NONE

{@] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
I5th during the pendency of the Chapter 13 case. In the event the debtor(s)° disposable income or tax refunds increase.
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

NON-STANDARD PLAN PROVISIONS ["] NONE

[-] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

LF-31 (rev, 10/3/17) Page 2 of 4
Case 19-13589-SMG Doc 80 Filed 11/05/19 Page 3of4

Debtor(s): Nelson Fernandez Case mimber: 19-1] 3589

 

{@i] Mortgage Modification Mediation

| The debtor has filed a Verified Motion for Referral to MMM with:

Nationstar Mortgage d/b/a Mr. Cooper ee
loan number 9519 —_

for real property located at 8830 SW 22 Street
Hollywood, FL 33025 ee

(“Lender")

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders ‘local
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent moriwage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepelition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HO. lees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated bs
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon reecint
by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender's
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearaye
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to conlirmation

of the plan or modified plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as 3 result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification \ereement
with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement with Lender) no luter than
14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement. as applicable.

If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requirements
necessary to complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement. the debtor shall immediatels
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

Ifthe lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender's Proof of Claim (if the lender hag filed a Proof ol
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value: or (b) provide that (he real
property will be “treated outside the plan.” If the property is “treated outside the plan.” the fender will be entived to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender muy lile a motion ta
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Prool’
of Claim.

LF-31 (rev. 10/3/17) Page 3 of 4
Case 19-13589-SMG Doc 80 Filed 11/05/19 Page 4of4

Debtor(s): Nelson Fernandez Case number: 19-13589

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

/s/ Nelson Fernandez Debtor 11/5/2019 Joint Debtor

Nelson Fernandez Date Date

/s/ Ricardo Corona, Esq. 11/5/2019
Attorney with permission to sign on Date
Debtor(s)! behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter £3 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

LF-31 (rev, 10/3/17) Page 4 of 4
